Case 7:24-mj-00096 Document 1 Filed on 01/18/24 in TXSD Page 1 of 2

AO 91 (Rev 8/01) Criminal Complaint

United States District Court

SOUTHERN DISTRICT OF TEXAS

McALLEN DIVISION

UNITED STATES OF ye CRIMINAL COMPLAINT

Raul Gonzalez Ill Case Number:
YOB: 1982 COB: United States
M-24-00946 -M

I, the undersigned complainant being duly swom state the following is true and correct to the best of my knowledge and belief.

On or about January 17, 2024 in Starr County, in the

Southern District of Texas
(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Alan Yasser Hernandez-Casas, a citizen and national of Mexico, along with
two (2) other undocumented aliens, for a total of three (3), who had entered the United States in violation of law, did
knowingly transport, or move, or attempted to transport said aliens in furtherance of such violation of law within the United
States, that is from a location near Escobares, Texas to the point of arrest near Escobares, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
I further state that I am a U.S. Border Patrol Agent and that this complaint is based on the following facts:

On January 17, 2024, at approximately 11:18 a.m., Border Patrol camera operator observed three (3) suspected undocumented
aliens (UDAs) cross the Rio Grande River, via raft, in Escobares, Texas and run under a canopy. This area is notorious for alien and
narcotics smuggling due to its proximity to the river. Several minutes later, the camera operator observed a white Ford F-150
approach the canopy. The driver signaled with his hands for the suspected UDAs to enter his vehicle. After they boarded, the driver
continued north. A responding agent in the area approached the Ford, but the driver made an abrupt U-turn. When the agent
activated his emergency equipment, the driver failed to yield. After a short pursuit, the Ford stopped and the driver remained in the
vehicle while the passengers absconded. Agents were able to identify the driver as Raul Gonzalez III, a United States (U.S.) Citizen.
All three (3) passengers were apprehended shortly after with the assistance of the camera operator who observed the event. All
passengers, including Alan Yasser Hernandez-Casas, were determined to be illegally present in the U.S. Gonzalez and the three (3)
UDAs were arrested and taken the Rio Grande City Border Patrol Station for processing.

Continued on the attached sheet and made a part of this complaint: Yes [_]No

Complaint authorized by AUSA J. Garcia. !s/ Shakira Singho

Signature of Complainant

Submitted by reliable electronic means, sworn to and attested
telephonically per Fed. R. Cr.P.4.1, and probabie cause found on: Shakira Singho Border Patrol Agent
Printed Name of Complaip: nt

January 18,2024 (Co? /S ,4— at _WicAilen, Texas’ 5
Date ~ City or Stay / A

Juan F. Alanis _U. S. Magistrate Judge a Ca

Name and Title of Judicial Officer /Signature of Judicial Officer

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Case 7:24-mj-00096 Document1 Filed on 01/18/24 in TXSD Page 2 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

McALLEN, TEXAS
ATTACHMENT TO CRIMINAL COMPLAINT:
M-24- 0OO160 -m
RE: Raul Gonzalez Ill
CONTINUATION:
PRINCIPAL STATEMENT:

Raul Gonzalez III, a United States citizen, was advised of his Miranda Rights, stated he understood
his Rights, and agreed to provide a statement.

Gonzalez stated he received a call from an unknown person offering him a job picking up illegal
aliens for $200 per person. He claimed on today’s date (January 17, 2024), he received ongoing
instructions over the phone directing him through a property close to the river. Gonzalez stated he
observed three (3) subjects emerge from a structure and enter the pick-up truck. He said two (2)
people sat in the back seat and one (1) person sat in the front seat. Gonzalez admitted once he saw a
Border Patrol unit, he attempted to circumvent it, but drove in a ditch. Gonzalez stated he knew
what he was doing was illegal.

MATERIAL WITNESS STATEMENT:
Alan Yasser Hernandez-Casas, a citizen of Mexico was read his Miranda Rights, stated he
understood his Rights, and agreed to provide a statement.

Hernandez stated he made his own arrangements to be smuggled to Indiana and paid $6,000. He
said he crossed the river, via raft, with three (3) other subjects including a rafter. He explained once
they made landfall, they hid for approximately fifteen (15) minutes, until they were picked up by a
man in a single-cab Ford F-150. Hernandez said the driver yelled out a code word, which was the
same word that was previously provided to him. He claimed when they entered the truck, the driver
told them to sit in the back seat and conceal themselves. Hernandez said once the driver heard the
siren, he began driving fast. When the truck stopped, Hernandez said the driver told them to run.

Hernandez identified Raul Gonzalez III, through a photo line-up, as the driver of the truck.

Page 2
